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Flaster/Greenberg P.C.

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Attomeysfor plail'zti]jf

J & J Snack Foods Sales Corp.

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

J & J SNACK FOODS SALES CORP., Civil Action No_:
Plaintiff,
v.
DGGSTERS, LLC,
COMPLAINT
Defendant.

 

 

Plaintiff J & J Snack Foods Sales Corp. (“J & J”), by and through its attorneys
Flaster/Greenberg P.C., by way of Complaint against defendant Dogsters, LLC avers as follows:
Parties

l. J & J is a corporation organized under the laws of the State of New Jersey, with
its principal place of business located at 600 Central Highway, Pennsauken, New Jersey.

2. J & J is a wholly owned subsidiary of J & J Snack Foods Corp., which
manufactures nutritional snack foods and distributes frozen beverages which it markets
nationally to the food service and retail supermarket industries J & J’s customers include
supermarket chains, as well as food service customers including snack bar and food stand

locations in leading chain, department, discount, warehouse club and convenience stores; malls

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and shopping centers; fast food outlets; stadiums and sports arenas; leisure and theme parks;
movie theaters; independent retailers; and schools, colleges, and other institutions

3. Defendant Dogsters, LLC (“Dogsters”) is a Delaware limited liability company
with its principal place of business located at 161 Momingside Drive, Milford, Connecticut
06460.

4. Dogsters is the owner of the trademark and trade name DOGSTERS for frozen
pet food products, including a product line of healthy frozen ice-cream style treats for dogs.

Jurisdiction and Venue

5. Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(a)(1) and (c)
because the principal places of business of the respective parties are in different states and the
amount in controversy exceeds $75,000.00, exclusive of costs and interest

6. Jurisdiction is also proper in this Court pursuant to 28 U.S.C. § 2201 (Declaratory
Judgment Act). An actual case or controversy has arisen between the parties. Dogsters asserts
that J & J’s purchase of Dogsters’ exclusive license agreement to sell DOGSTERS products is
null, void, and unenforceable Dogsters’ position threatens injury to J & J.

7. Venue is proper before this Court pursuant to a forum selection clause in the
above-mentioned exclusive license agreement naming the Southern District of New York as the
proper venue.

Facts Common to All Counts

1. J & J’s Acquisition of IB ’s Assels and the Exclusive License Agreement

8. On April 2, 2007, J & J and lntegrated Brands, Inc. (“IB”) entered into an
agreement whereby J & J purchased significant assets from IB, including, but not limited to, the

WHOLE FRUIT Sorbet and FRUIT-A-FREEZE Frozen Fruit Bar brands, along with related

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assets including a frozen food manufacturing facility located in Norwalk, California.

9. Prior to the asset purchase agreement, IB sold and distributed frozen dessert
products to superrnarkets, grocery stores, club stores, gourmet shops, delicatessens and
convenience stores, similar to J & J.

10. As part of the asset sale between J & J and IB, J & J also acquired the rights to
IB’s License Agreement with Dogsters.

11. Dogsters and IB entered into the License Agreement in April 20, 2004, in which
Dogsters agreed that for an initial term of fifteen (15) years, IB had exclusive rights to utilize
Dogsters’ trademark to develop, manufacture, market, promote, advertise, sell, and distribute
Dogsters’ frozen dog treats. A true and correct copy of the License Agreement is attached hereto
as Exhibit A and incorporated by reference herein.

2. The Present Dispute

12. By way of a March 29, 2007 letter from Dogsters’ counsel, Jack Hassid, Esq., to
CoolBrands International, Inc. (“CoolBrands”) (IB is a wholly owned subsidiary of CoolBrands),
Dogsters objected to the transfer of its License Agreement to J & J. A true and correct copy of
the March 29, 2007 letter is attached hereto as Exhibit B and incorporated by reference herein.

13. Specitically, Dogsters claimed that J & J had no right to purchase the rights to the
License Agreement because J & J must be an “acquirer of all or a majority of the business, assets
or capital stock of the Licensee.” _S_e_e Exhibit B.

14. In his April 2, 2007 letter in response to Mr. Hassid’s letter, A. F red Ruttenberg,
Esq., counsel for J & J,' documented the financial strength and viability of J & J, as well as J &
J’s acquisition of a majority of IB’s assets.

15. For instance, J & J has wide experience and ability in the sale of food products. It

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also has particular expertise in manufacturing, selling, and transporting frozen food products. J
& J owns plants throughout the country that sell frozen food products, including the Norwalk,
California plant just purchased from IB.

16. Furthermore, as required by paragraph 14 of the License Agreement, J & J agreed
to insert the word “best” between the word “reasonable” and the word “efforts” in Section 1. g of
the License Agreement.

17 . Despite J & J’s purchase of the rights to the License Agreement, as well as its
strict compliance with paragraph 14 of the License Agreement, Dogsters has shown a lack of
cooperation and a refusal to be bound by the License Agreement

18. Upon information and belief, Dogsters wishes to enter into an exclusive
agreement with another distributor, in strict violation of the License Agreement Dogsters just
signed less than three years ago.

19. Dogsters’ has breached the License Agreement by refusing to recognize J & J as
the Licensee, as well as its failure to oblige by its duties as the Licensor under the License
Agreement

20, For example, Dogsters continues to advertise on its Website that its exclusive
license agreement is with CoolBrands.

21. Furthermore, Dogsters’ purposeful conduct interferes with J & J’s gain of

economic advantage arising from the asset purchase agreement between J & J and IB.

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CLAIMS FOR RELIEF
COUNT ONE
(Declaratory Judgment that J & J has Rightfully Acquired the Rights of the License
Agreement, and Dogsters Remains Bound Thereto)

22. J & J incorporates by reference the allegations contained in paragraph 1 through
21, inclusive.

23. J & J brings this action for declaratory judgment pursuant to 28 U.S.C. §§ 2201
and 2202, as to the relevant rights, liabilities, and obligations of J & J and Dogsters with respect
to J & J’s acquisition of IB’s rights to the License Agreement between IB and Dogsters.

24. Dogsters has claimed that J & J’s purchase of a substantial portion of IB’s assets,
including the License Agreement, is not valid insofar as it applies to the License Agreement

25. An actual, present and justiciable controversy has arisen between J & J and
Dogsters concerning J & J’s purchase of the License Agreement

26. J & J seeks declaratory judgment from this Court that its asset purchase from IB
includes full rights to and acquisition of the License Agreement, which requires, inter alia,
Dogsters’ full compliance with the terms of the License Agreement

WHEREFORE, J & J Snack Foods Sales Corp. respectfully requests that the Court:

(1) Enter judgment according to the declaratory relief sought;

(2) Award J & J Snack Foods Sales Corp. its costs in this action;

(3) Enter such other further relief to which J & J Snack Foods Sales Corp. may be

entitled as a matter of law or equity, or which the Court determines to be just and proper.

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COUNT TWO
(Breach of Contract)

27. J & J incorporates by reference the allegations contained in paragraph 1 through
26, inclusive.

28. J & J, as the new Licensee, and Dogsters, as the Licensor, are parties to an
exclusive License Agreement,

29. Pursuant to the License Agreement, Dogsters is precluded from licensing or
otherwise using the Dogsters trademark with any other entity other than J & J.

30. Despite this obligation, Dogsters has been actively seeking to impermissibly
revoke its obligation under the License Agreement, while seeking to enter into an exclusive
agreement with another distributor, in strict violation of the License Agreement.

31. Dogsters’ refusal to abide by the License Agreement, specifically the exclusivity
provisions, is in breach of the License Agreement

32. Dogsters’ aforementioned breach of the License Agreement directly resulted in
injury to J & J, including, but not limited to, lost profits.

WHEREFORE, J & J Snack Foods Sales Corp. respectfully demands judgment in its
favor and against Dogsters, LLC:

(1) Awarding compensatory damages;

(2) Awarding consequential damages;

(3) Awarding prejudgment interest;

(4) Awarding costs of suit and reasonable attorneys’ fees; and

(5) Awarding such other further relief to Which J & J Snack Foods Sales Corp. may

be entitled as a matter of law or equity, or which the Court determines to be just and proper.

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COUNT THREE
('I`ortious Interference with Contract)

33. J & J incorporates by reference the allegations contained in paragraph l through
32, inclusive.

34. J & J and IB entered into an asset purchase agreement whereby IB agreed to sell J
& J a significant portion of its assets, including IB’s License Agreement with Dogsters.

35. J & J gave substantial financial consideration to IB for the rights to the License
Agreement with Dogsters.

36. Dogsters intentionally or maliciously interfered with the J & J-IB asset purchase
contract by failing and refusing to abide by the terms of the License Agreement

37 . Because of Dogsters intentional or malicious conduct, J & J cannot obtain the
economic benefits that should otherwise arise from the asset purchase agreement with IB.

WHEREFORE, J & J Snack Foods Sales Corp. respectfully demands judgment in its
favor and against Dogsters, LLC:

(1) Awarding compensatory damages;

(2) Awarding consequential damages;

(3) Awarding punitive damages;

(4) Awarding prejudgment interest;

(5) Awarding costs of suit and reasonable attorneys’ ~fees; and

(6) Awarding such other further relief to which J & J Snack Foods Sales Corp. may

be entitled as a matter of law or equity, or which the Court determines to be just and proper.

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COUNT FOUR
(Breach of Contract (Pled in the Alternative))

38. J & J incorporates by reference the allegations contained in paragraph l through
37, inclusive.

39. On April 20, 2004, IB and Dogsters entered into the License Agreement described
in the paragraphs above.

40. Paragraph 2 of the License Agreement states that the Licensee agrees to pay to
Dogsters a royalty of 4% of the net sales of Dogsters products

41. Paragraph 2 also requires the Licensee to advance to Dogsters royalty payments
of $300,000.

42. Under paragraph 2, once Dogsters’ right to royalty payments exceeds $300,000,
Dogsters will receive royalty payments above and beyond the $300,000 advance.

43. Pursuant to paragraph 2, Dogsters was paid $300,000 as an advance of royalty
payments

44. Sales of Dogsters’ products, however, have failed to reach a level where Dogsters
would have the right to retain the entirety of the $300,000 royalty advance.

45. If Dogsters terminates the License Agreement, and the “Total Earned Royalties”
are less than an amount equal to $300,000, Dogsters is required to refund any excess royalties

46. Should Dogsters successfully argue that the License Agreement, to which J & J is
now a party, has been terminated, Dogsters must refund to J & J any excess royalties pursuant to
paragraph 2 of the License Agreement,

47. The amount of sales of Dogsters’ products has not been sufficient enough to
retain the entirety of the $300,000 royalty advance.

48. Dogsters has failed and refused to reimburse J & J for the excess royalty

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payments

WHEREFORE, J & J Snack Foods Sales Corp. respectfully demands judgment in its
favor and against Dogsters, LLC:

(1) Awarding compensatory damages;

(2) Awarding consequential damages;

(3) Awarding punitive damages;

(4) Awarding prejudgment interest;

(5) Awarding costs of suit and reasonable attorneys’ fees; and

(6) Awarding such other further relief to which J & J Snack Foods Sales Corp. may
be entitled as a matter of law or equity, or which the Court determines to be just and proper.

DESIGNATION OF TRIAL COUNSEL
Jeffery A. Cohen is hereby designated as trial counsel for plaintiff
FLASTER/GREENBERG P.C.

Daced; May 15, 2007 By: j

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Cherry Hill, NJ 08002
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Fax: (856) 661-1919
ieff.cohen@flastergreenberg.com
Attorneys for plaintijj‘
J & J Snack Fooa's Sales Corp.

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DOGSTERS LICENSE AGREEMENT

THIS AGREEMBNT made as of the 20"‘ day of Aptil, 2004 by and between Dogsters, LLC,
a Delaware limited liability company, having a place of business at 161 Momingside Drivc, Milford,
CT 064.60 (“Licensor") and Integrated Brands, Inc.. a Ne_w Jerse~y corporation having a place of
business ot 4175 Veterans Higbway, Ronl<onl<oina, New York 11779 (“Licensee").

WHEREAS, Licensor is the owner of the trademark and trade name DOGSTERS for frozen
pet food products and all other associated trademarks service marks, trade names, logos, trade dress,
copyrights and other intellectual property, including Witbout limitation any modifications or
substitutions hereafter made to the foregoingby Licensor (hereinai‘ter collectively and/or individually
referred to as the “’lradernark"); and

WHEREAS, Licensee desires a license from Licensor to use thc Tradcmark solely in
connection with the development manufacture, marketing prcmotion, advertising sale and
distribution of "Articles," defined to mean all edible treats or attacks for dogs or other pet animals sold
in a frozen form or intended to be eaten or served in a wholly or partially Frozen state, including,
without limitation, “icc cream style” novelties and cakcs; and

WHEREAS, simultaneous with the execution and delivery of this Agreement, Licensee and
Licensor are also entering into that certain Consulting Agreement by and between Dogsters, LLC and
lntegrated Brands, Inc. of even date herewith (thc “Consulting Agreemcnl”).

NOW, THEREFORE. in consideration of the mutual promises herein contained, ic is hereby

agreed as follows:

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a Articles: Upon the terms and conditions hereinafter set forth, Licensor hereby grants

 

to Licensee and Licensee hereby accepts the exclusive right license and privilege of utilizing the
Trademarlc in the Territory in the Channels solely in connection with the developrrre'nt1 manufacture,
marketing promotion advertising sale and distribution of Articles. Licensee shall have the right to
have third parties manufacture and or distribute Articlcs utilizing the Trademdrk for Licensee in
Licensec’s discretion, provided that such third parties'agrec in writing to comply with the quality
control provisions and any other provisions relevant to such third party set forth in this Agreement,

b. Existing Formulas: Licensot also hereby grants to Licensee and Licensee hereby
accepts the exclusive right, license and privilege of utilizing any and all existing product fonnulations,
recipes, trade dress, manufacturing processes or instructions or other “know-how” or other proprietary
rights or intellectual property (“Existing lntellectual Propeny") used in connection with 'the
development, manufacture, marketingl promotion, advertising sale and distribution of existing Articles
utilizing the Trademark. Licensee shall have the right to have third parties use Exisn`ng intellectual
Property in connection with the manufacture and or distribution of Articles utilizing the 'l`rademark
for Licensee in Licensee’s discretion, provided that such third parties agree in writing to comply with
the quality control provisions and any other provisions relevant to such third party set forth in this
Agreementl

c. Exclusivity: Subject to the terms of this Agreement, Licensor agrees that it will not use
or license to anyone else the right (0r otherwise appoint, pccrnit, authorize, allow or enable anyone
else) to use the Tradcrnark in the 'l`erritory in the Chan.nels in connection with any Aiticles. During

the term ot` this Agreement, Licensee agrees that it will not enter into a license agreement to market

 

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Articles utilizing the trademarks ot" any competitor of licensor in the market for frozen pet food
products

d. l_§e§teLvLit)n; Notwithstanding paragraphs (a) and (b) above it is understood Licensor
reserves to itself the right t`o use and license to others the right to use the 'l`rademar~k in connection with
any products and/or services not included within the definition of Articles.

c. Tcrritory: The exclusive license granted herein is for the United States and its
territories and possessions, including, without lirnitation, Puerto Rico and Canada (the “Territory”).
Before using or licensing to anyone else the right (or otherwise appointing1 permitting, autl)orizing,
allowing or enabling anyone else) to use the Trademark on any Articles in the C`nannels in any country
or geographic area not then included in the Territory, Licensor shall first give Licensee at least 180
days prior written notice of its desire or intent to do so. Licensee shall then have 30 days after
receiving any such notice from Licensor in which to elect to extend the Territory of the license granted
hereunder to include the country or geographic area specified in such notice by giving Licensor written
notice thereof; provid ed that Licensee shall not then be in material default of this Agreement
Licensee shall have 150 days after giving notice to Licensor of its election to extend the Territory to
commence distribution of Articles in such country or geographic area. IfLicensee fails to commence
such distribution within said 150 days. the rights to use the Trademark in the Channels in such country
or geographic area shall revert to Licensor. IfLicensec desires to use the Tradernark on any Articles
in the Channels in any country or geographic area not then included in the Teiritory, Licensee will give
Licensor at least niney (90) days notice of its desire to do so; provided, however, that Licensee shall
not then be in material default of this Agreement, If Licensee ceases distribution of Articles in any
extended ’l`erritory then the right to use the 'l`radernarlr in the Channcls in such country or geographic

area shall revert to Licensor.

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fl Qhannels: The exclusive license granted herein is forsales and distribution through
the following distribution channels (the “Charmels"): Supennarkets, Grocery, Mass, Club,
Convenience, Out-Of-Homc, Food Service, Natural Foods, Drug and Military. Licensee shall be the
exclusive manufacturer of Articlcs for sale and distribution by Licensor or its designee through the
Internet and Direct to Consumer distribution channels; provided, however, that Licensor shall be
entitled to purchase such Articles from Licensee at a price that is no greater than the lowest price then
charged by Licensee to any Purchaser of the carrie Articles.

g. Peri`ormance~ Licensee shall use commercially reasonable efforts in distributing and

 

selling the Articles in the 'l`erritory in the Channels.

h. Q_th_c_rA_rtic_le§_; Licensee shall have a period of 8 months following the date hereof to
commence test marketing of frozen cntrees, dinners, side dishes for dogs or other pet animals, or any
other edible materials not considered to be treats or snacks for dogs or other pet animals, using the
Tradernarlc, during which time period Li.censor shall not use or license to anyone else the right (or
otherwise appoint pcrmit, authorize, allow or enable anyone else) to use the Trademark on any such
products in the Channels in the Territory or in any country or geographic area not then included in the
Territory. Aiter commencing such test marketing Licensee shall have a period of 4 months to
determine whether to proceed with a full distribution roll-out of such products IfLicensee commences
such test marketing within said 8 month time period, and thereafter notifies Licensor off its intent to
proceed with a hill distribution roll-out within said 4 month time pcriod, the rights to use the
Trademark on such products in thc Channels in the Territory (or other country or geographic area)
shall be granted to Licensee on the terms and subject to the conditions set forth in this Agreement and
such products shall thereafter be deemed Am`c|es for all purposes hereof. If Licensee does not

commence such test marketing within said 8 month time period, or notify Licensor off its intent to

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proceed with a full distribution roll-out within said 4 month time period, the rights to use the
Tradcrnarl< on such products in the Channels in the Tcrritory (or other country or geographic area)

shall revert to Licensor.
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a. _B_a_t§; Except as provided to the contrary herein below, Licensee agrees to pay to
Licensor a royalty of four percent (4%) on the Licensec's Net Sales of Articles sold by Licensee using
the Trademark. No royalty shall be payable on any Articles soidtoi:iecnsor'and~any%nticics~donated
to any charity or given out as free samples As used herein, “Net Sales" means the gross sales price
invoiced by Licensee to Purchaser.s of the Articles, minus (i) any credits given or deductions taken as
a result of the return or destruction of such Articles, (ii) any promotional off-invoice case allowances
or case bill-backs given, and'(iii) any applicable sales cruse taxes. The following shall not be deducted
from gross sales in calculating Net Sales: cash discounts1 discounts for early payment. volume rebates,
slotting fees and costs incurred in manufacturing selling or advertising the Articles, except _for off-
invorce or bill-back promotional case allowances For all purposes of this Agreement, the royalty shall
accrue on the sale of the Articles and the Articles shall be considered sold when shipped or billed out,
whichever occurs earlicr. As used herein, “Pu.rchascrs” means entities directly invoiced by Licensee
for Articlcs, including, without limitation, distributors who resell the Articles to retailers For Net
Sales ofAnicles made outside ofthe United States, Licensee shall account to Licensor in U.S. Dollars
at the rate of exchange as reported in the Wall Street Journal as of the date of accounting

br MLLAM; Upon the execution of this Agreement, Licensee shall pay
to Licensor the sum of One Hundred I~`iily 'l'housand Dollars ($150,000.00) as an advance payment
on account of future royalties accming on Licensee’s Net Sales ofArticles utilizing the Trademark (thc

“Initial Advance“). 'l`hereal'ter, except as provided in Section ?..c. herein below. Licensee shall not be

 

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obligated to make any further royalty payments to Licensor until total royalties owed pursuant to
Section Z.a. herein above exceed the amount of the First Advance, and any such timber royalty
payments shall be made pursuant to Section 2d herein below. I'fLiccnsee terminates this Agreement
for cause pursuant to Section 9.c. herein below, and if total royalties accrued in accordance with
Section la herein above during the term of this Agreement, including any scll~off period as provided
in Section 9.h. herein below (thc “Total Earned Royalties") are less than the amount of the First
Advance, Licensor shall refund to Licensec, within thirty (30) days after receiving written notice from
Licensee that Licensee has ceased selling any Articles utilizing the Tradernark, an amount equal to the
lnitial Advancc minus the 'l`otal Earned Royalties.

c. Second Royalg Advance: IfLicensee does not exercise its option to terminate this
Agreementwithout cause pursuant to Section 9.b. herein below, Licensee shall pay to Licensor within
thirty (3 0) days after the first anniversary of the date first written above the sum of One Hundred Fifcy
Thousand Dollars ($lSD,OO0.00) as an additional advance payment on account of future royalties
accruing on Licensee's Net Sales of Articles utilizing the Trademark (the “Second Advanc-e").
'l`hereafter, Licensee shall not be obligated to make any further royalty payments to Licensor until total
royalties owed pursuant to Section 2.aq herein above exceed an amount equal to the sum of the Second
Advance plus any unused portion of the First Advance, and any such further royalty payinan shall
be made pursuant to Section 2.d. herein below. It' Licensee terminates this Agreement for cause
pursuant to Section 9.c. herein below, and if the Total Earned Royalties are less than an amount equal
to the sum of the First Advance plus the Second Advancc plus any further royalty payments received
by Licensor (the “Total Paid Royalties” , Licensor shall refund to Licensee, within thirty (30) days
after receiving written notice from Licensee that Licensee has ceased selling any Articles utilizing the

'I`radetnark, an amount equal to the Total Paid Royalties minus the Total Earned Royaltics.

 

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d. Royalty Pa§gnent,< and Regords: Licensee agrees to keep accurate books of account and
other records in sufficient detail so that the royalty payable hereunder may be ascertained properly.
Within thirty (3 0) days after the end of each of Licensee's fiscal quarters which commence September
l, December l, March l and June l, Licensee shall furnish to Licensor accurate statements of sales
ot`Articles using the Trademark during such previous fiscal quarter showing the number, description
and Net Sales cf such Articlcs. Such statements shall be furnished to Licensor whether or not a royalty
is due. Each such report shall be accompanied by a check for the amount of royalty payments due with
respect to the period covered by such report The receipt or acceptance by Licensor of any of the
statements furnished pursuant to this Agreement or of any royalties paid hereunder (or the cashing of
any royalty checks paid hcrcunder) shall not preclude Licensor from questioning the correctness
thereof at any time within two (2) years from the date Licensor received such statement and/or
payment, and in the event that inconsistencies or mistakes are discovered in such statements or
payments within said two (2) year period, they shall be rectified and the appropriate payments made
by Licensee upon demand by Licensor. Any royalty payments1 including accrued royalties, and audit
findings, not paid when due shall be paid immediately upon demand and shall bear interest at an
annual rate of two percent (2%) over the late of interest publicly announced by Citibank, N.A. in New
York as its base rate in effect as of the date on which such overdue royalty amount should have been
paid to Licen.sor.

Licensee agrees, upon request by Licensor, to permit Licensor or its authorized representative
to have access during normal business hours and on reasonable advance notice to such books or
records as may be necessary to determine the royalty in respect to any accounting period covered by
this Agreement Such audits shall be at the expense ofLicensor and shall be limited to one such audit

during any fiscal year ofLicensee, unless they show that Licensee has understated the royalties by five

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percent (5%) or more or Five 'l`housand Dollars (SS,OOO) (wbiohever is greater) for any quarter, in
which case Licensee shall reimburse Licensor for its out-of-pooket expenses incurred in connection
with the audit as well as pay to Licensor the required amount of additional royalties and Licensor shall
diereaii'er be entitled to up to two (2) such audits during the immediately following lisoal year of
Licensee. Licensee shall keep all books of account and records available for at least two (2) years after
the submission of the relevant statement

3. Licensor's Anthorized wresentative/Aggroval Rights

a. Licensor's Authorized Rgpresentative: Wherever Licensee is directed to furnish or
supply to or otherwise take some action or perform some obligation in respect of Licensor in this
Agreement. the term “Licensor" shall be deemed to include "or Licensors authorized representative"
unless written advice to' the contrary is received from Licensor.

b. App roval Right.s; All Articles and other materials utilizing the 'l`rademark, including,
without limitation, advertising materials, packaging designs and other trade dress, point of sale
materials product formulations and finished goods Articles, shall not be introduced into the
marketplace without the Licensor’s prior approval, which Licensor agrees shall not be unreasonably
withheld or conditioned. Licensor shall approve or disapprove (along with a reasonable basis for
disapproval) in writing all proposed A.rticles, finished goods product samples and other materials
utilizing thc 'l`rademark within ten (10) business days after submission of same by Licensee to
Licensor. If Licensor does not notify Licensee in writing that any submitted material is disapproved
(such notice to include the reasonable basis for disapproval) within ten (10) business days alter
submission Licensor shall be deemed to have approved such submitted material for all purposes of

this Agreement

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4. Good 'll etc.

a. Licensee recognizes the great value ot` the goodwill associated with the Trademark and
acknowledges that the Tradernarlc and all rights therein and the goodwill pertaining thereto belong
exclusively to Licensor. Licensee agrees not to contest Licensor‘s rights in the Trademark or perform
any material act or omission adverse to said rights.

b. Licensee hereby agrees that its every use of the 'l`radeniark shall inure to the benefit of
Licensor, and that Licensee shall not at any time acquire any rights in the Trademark by virtue of any
use it may make of the Tradernark other than the licensed rights granted herein

c. Subject to being reimbursed for it’s out of pocket expenses, Licensee agrees to
cooperate fully and in good faith with Licensor for the purpose of securing, preserving and protecting
Licensor's rights or any grantor of Licensor‘s rights in and to the Tradernark.

d. Licensee agrees that it will use the Trademark only on or in connection with the
Articles herein licensed, and that it will not adopt or use as its own a trademark the same or
confusineg similar to any of the Tradeinark

e. Licensee acknowledges that its failure (exccpt as otherwise provided in Section 9.h. herein
below) to.cease the manufacture, sale or distribution of Articles utilizing the Trademark alter the
termination or expiration of this Agreement will result in immediate and irremediable damage to
Licensor and to the rights of any subsequent licensee Licensee acknowledges and admits that there
is no adequate remedy at law for such failure to cease the manufacture, sale or distribution, and
Licensee agrees that in the event of such failure Licensor shall be entitled to equitable relief by way
of temporary and permanent injunctions and such other and further relief as any court with jurisdiction

may deem just and proper.

 

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f. Licensee shall report to Licensor in writing any infringement or imitation of the
Tradernark it becomes aware oi` on Articles orproducts similar to Articles. Upon receipt of such report,
Licensor shall promptly investigate such infringement or imitation and within thirty (3 O) days
thereatter notify Licensee in writing of such action as Licensor shall deem appropriate including
without limitation, commencement of any litigation In the event Licensor decides to institute such
litigation, Licensor shall offer Licensee an opportunity to voluntarily join in any such action. ln the
event that Licensee voluntarily joins in any such action, the expenses and any damages awarded as the
result of a lawsuith settlement reached as a result of a lawsuit shall be split fifty/tiny (50/50) by the
parties after the out~of-po cket expenses have been reimbursed In the event that Licensee chooses not
to voluntarily join in any such action, Licensor shall be free to join Licensee as a party thereto. lf
Licensee does not join the suit voluntarily, all expenses shall be borne by Licensor, and all recoveries
and awards shall be fully retained by Licensor. lf Licensor decides not to institute such litigation or
fails to give Licensee timely written notice of what action it deems appropriate, Licensee shall have
the right to institute such litigation in which event Licensee shall be solely responsible for the costs
of such litigation and shall be entitled to keep any recoveries therefrom and shall have the right to
settle such litigation in Licensee’s discretion, provided., however, that any settlement that would cost
the Licensor any money or impose on Licensor any other obligation or limitation with respect to the
Trademark shall require Licensor’s consent, which shall not be unreasonably withheld, conditioned
or delayed Each party agrees to cooperate with the other party in any suit brought by the other party
in compliance with this Section 4.f. subject to being reimbursed for its out-of'pocket expenses

g. Licensor shall be solely responsible at its sole cost and expense for registering and

maintaining registration of the Trademark in the 'l`erritory.

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h. Licensor acknowledges that its failure to perform its obligations set forth in the first
sentence of Section l.c. herein above will result in immediate and irremediable damage to Licensee
and to the rights of any subsequent licensee Licensee acknowledges and admits that there is no
adequate remedy al law for such failure to perform said obligations, and Licensor agrees that in the
event of such failure Licensee shall be entitled to equitable relief by way of temporary and permanent

injunctions and such other and further relief as any court with jurisdiction may deem just and proper.

5, indemnification and Product liability Igsurance

a. Bxccpt as provided to the contrary in Section 5.b. herein below, Licensee hereby
indemnifies Licensor and undertakes to defend Licensor against and hold Licensor harmless from any
claims. suits, damages, out-of-pocltet expenses (including legal fees and out-of~pocket expenses) and
losses arising from the activities of Licensee under this Agreement Licensee agrees that itwill obtain
and maintain throughout the tenn of this Agreement, at its own cxpense, liability insurance including
product liability with a broad form vendors endorsement from an insurance company reasonably
acceptable to Licensor providing adequate protection (at least in the amount of Ten Million Dollars
($10,000,000)) against any claims, suits, damages, expenses or losses arising out of Licensee‘s
activities pursuant to this Agreement, Such insurance shall include coverage of Licensor and its
directors officers, agents. employees assignees and successors As proof of such insurance a
certificate of insurance naming Licensor as an additional insured party will be submitted to Licensor
by Licensee before any A.rticles using the Traclemark are distributed or sold by Licensee, and at the
latest within thirty (30) days after the date first written above. Licensor shall be entitled to a copy of

the prevailing certiticate(s) of insurance which shall bc furnished to Licensor by Liccnscc. Licensee

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and its insurer shall provide Licensor with thirty (30) days advance notice in the event of the
cancellation of said insurance

b. Licensor hereby indemnifies Licensee and undertakes to defend Licensee and hold
Licensee harmless from any trademark infringement claims, suits, damages, out-of~pocket expenses
(including legal fees and out-of~pocl:et expenses) and losses arising out of or in connection with
Licensee’s use of the Tradeniark and any Bxisting Inteliectual Propeny in accordance with the terms
of this Agreement and any breach by Licensor of any obligation or representation contained in this
Agreement Licensor hereby represents and warrants to Licensee that (i) Licensor owns all ofthe rights
necessary to grant to Licensee the license rights set forth in this Agreement and has not previously
granted such rights to any third party under any agreement still in effect (ii) Licensor has all necessary
power, authority and rights to enter into this Agreement and perform all of its obligations hereunder,
and (iii) Licensor has no knowledge of any current infringement of the 'l`rademarl< that was not
disclosed by Licensor to Licensee prior to the execution of this Agreement

c. Either party shall notify the other party promptly in writing of any claim with respect
to which such party is entitled to indemnification and defense from the other party. The indemnifying
party shall then promptly undertake to defend such claim in accordance with this Agreement, providcd,
h owever, if the indemnifying party does not promptly undertake such defense, the party en titled to such
indemnification and defense shall have the right to undertake its own defense at the cost and expense
of the indemnifying party and shall have the right to settle such claim in its discretion, provided that
that any settlement that would cost the indemnifying party any money or impose on the indemnifying
party any other obligation or limitation with respect to the Tradetnark shall require the indemnifying

party’s consent which shall nor be unreasonably withheld, conditioned or delayed.

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6. uali ofMerchandi
a. Quali_t_y Conn'ol Stnndat;t_i§: Licensee agrees that (i) the Articles covered by this

Agreement shall be of a suitable standard, appearance and quality as to be adequate for the protection
of the Ttademarks and the goodwill pertaining thereto and shall be, unless otherwise agreed by
Licensor, made from all natural ingredients, of premium quality and formulated to be a “healthy" or
“healthier” alternative to competing products, [i.i) Licensee will cause the Articles to be sold and
distributed in accordance with all applicable Federal, State and local laws and (iii) the policy of sale,
distribution, and/or exploitation by Licensee shall not reflect adversely upon the good name ofLicensor
or the Tradernarlcs. Licensee further agrees that the manufacturing and sanitation practices used to
produce the Articles will comply with all applicable cheral, State and local laws, including, but not
limited to, manufacturing codes, and that Licensee will not manufacture the Azticles from inherently
dangerous materials or substances and will not design the Articles so as to constitute any inherent
danger.

b. Apprgval ofSamples: Licensee shall, before selling or distributing any Articles covered
by this Agreement, furnish to Licensor, tree of cost, a reasonable number of each of the Articles. The
quality and style of such A.ru'oles shall be subject to the prior approval of Licensor (as provided in
Section 3.b. herein above). After samples of the Arlicles have been approved by Licensor, Licensee
shall not depart therefrom in any material respect wi thout Licensor's prior written consent (as provided
in Section 3.b. herein above), and Licensor shall not withdraw its approval of the approved Articles
except for good cause when Licensor may in good faith have reason to believe that the approved
Articles may be detrimental to the health or safety of the public. From time to time after Licensee has

commenced selling the Articles and upon Licensor‘s written request, Licensee shall fumish, without

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cost to Licensor, the requested reasonable amount of samples of the Articles being manufactured and
sold by Licensee hereunder.

c. Plant Approval: Any and all proposed plants to be used by Licensee to manufacture the
Articles shall be subject to Licensor’s prior written approval (as provided in Sec~n`on 3.b. herein above).
Licensor shall have access to any plant where the Articles are manufactured at reasonable times and
with reasonable advance notice during normal business hours, for the purpose of inspecting such plant
and the Articles to the extent necessary to determine whether Licensor's quality standards are being
met. Afier a plant has been approved by Licensor, Licensor shall not withdraw its approval of the
approved plant except for good cause when said plant has deviated materially from its condition or
procedures as of the time it was approved and Licensor may in good faith have reason to believe that
the approved Articles may be detrimental to the health or safety of the pnl>lic.

d. Licensee shall have the sole responsibility with respect to the Articlcs for taking action,
maintaining records or handling recalls and all costs associated therewith under the Consumer
Products Safety Act', the Federal I"ood1 Dmg and Cosrnetic Act or any other similar acts, orders or
directives

e. Subject to the terms of this Agreement, Licensor acknowledges that Licensee shall have
the right to make adjustments to its formulas for the Articles and to develop and market new Articles
using the 'l`rademark; provided, however, that any Licensor-owned formulas that are adjusted shall
remain the property of Licensor. Any formulas for the Articles developed by Licensee shall remain
the property of Licensee after expiration or termination of this Agreement Any formulas for the
Anicles developed by Licensor shall remain the property of Licensor after expiration or termination

of this Agreement Any formulas for the Articles jointly developed by Licensee and Licensor shall

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be deemed to be jointly owned by Licensee and Licensor after expiration or termination of this

Agreement

7. Confidentiality
During the term of this Agreement and thereafter. both parties shall keep confidential

and shall not cause or permit the disclosure to any third party, other than those whose duties hereunder
require possession of such information, such as contract manufacturers and sub-licensees, of any
confidential information disclosed by eitherparty to the other pursuant to this Agreement Contidcntial
information may inolude, but is not limited to, formulas, production processes, research, marketing
and sales information Said confidentiality requirement shall not apply to any information which (a)
was in the possession of a party on a non-confidential basis prior to the receipt of any disclosure to it
by the other party, or (b) is or becomcs, without disclosure by a party, part ofthe public knowledge
or licerature, or (c) otherwise lawfully becomes available to a party, from sources other than the other
party, which sources did not acquire such information directly from the party or from any other person
who is or was subject to any restrictions on disclosure, or (d) counsel to the party advises must be
disclosed pursuant to a court order or by law or regulation or appropriate governmental authori ty, or
(e) is independently developed by any party without directly or indirectly using or referencing any
confidential information disclosed to it by the other party.

8. l,abelin romotion v~ isin and Use

a. licensee shall submit to Licensor for its prior written approval (as provided in and
subject to Section 3 .b. herein ab ove) all new proposed tags, labels, containers, packaging, advertising,
promotional or display materials or the like containing or referring to the Trademark.

b. Licensee agrees that it will apply the proper reasonable notations, as specified by

Licensor, indicating that the Tradernark are owned by Dogsters, LLC and used with its permission on

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all tags, labels, containers, packaging advertising, promotional or display materials or the like

containing or referring to the Tradernark.

c. Licensee warrants that all tags, labe]s, containers, packaging, advertising promotional

or display materials or the like containing the Trademarlc will comply with all applicable Federztl, State

and local laws.
9. lf§;m and Termination
a. 'l`he initial term of this Agreement shall commence on the date first written above and

shall continue for a period of fifteen (15) years there-often unless sooner terminated in accordance
herewith

b. Licensee shall have the option of terminating this Agreement without cause by giving
Licensor at least ninety (90) days written notice of such termination at any time prior to the first
anniversary of the date first written abovc.

c. Eitherparty may terminate this Agreement if the other party shall be in material default
of any obligation hereunder or under the Consulting Agreement by giving written notice calling
attention to such default, specifying the nature thereof and the action required to correct the default
and stating that this Agreement will terminate at the expiration of thirty (30) days from the date of the
receipt by the other party of such notice, unless the other party shall cure such default within said thirty
(30) day period, or if such default cannot be cured within said thirty (30') period, the other party,
exercising due diligence, has commenced taking the steps necessary to prevent the rccurrencc of such
default and is diligently pursuing such steps. Failure of either party to terminate this Agreement for
any such default or breach shall not be determined a waiver of the right subsequently to do so under

the same or any other such default or breach, either of the same or different character

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d. Licensor shall have the right to terminate this Agreement by giving written notice of such
termination to Licensee if Licensee discontinues its distribution and sale of Arti.cles using the
'l'rademark. Licensee agrees to give Licensor prompt written notice of its intention to discontinue
distributing and selling Aro`cles using the Tradenrark. If no such notice of discontinuation is given,
Licensee shall only be deemed to have discontinued its distribution and sale of Articles using the
'l`rademark ifl.icensee has commenced its initial distribution and sale of articles using the Trademarlc
and thereafter for three (3) consecutive full calendar months does not have at least 520,000 per month
of Net Sales of Arti.cles.

e. ’I`he license hereby granted maybe terminated by Licensor forthwith without any notice
whatsoever being necessary ii" Licensee discontinues its business or Licensee voluntarily submits to,
or is ordered by the bankruptcy court to undergo, liquidation pursuant to Chapter 7 of the bankruptcy
codc. In the event this license is so terminated, Licensee, its receivers representatives trusteesl agents,
administrators successors and/or assigns shall have no right to sel], exploit or in any way deal with
or in any Articles covered by this Agreement, or any carton, container, packaging or wrapping
rna.terial, advertising, promotional or display materials pertaining thereto, except with and under the
special consent and instruction ot`Licensor in Writing, which they shall be obligated to fol low. Should
Licensee tile a petition in bankruptcy or is otherwise adjudicated a bankrupt or if a petition in
bankruptcy is filed against Licensee and the Articles are attached and such petition is not discharged
or dismissed or if an involuntary receiver is appointed for it or its business within ninety (90) days
thereafter, Licensorrnay terminate this Agreement, in each case, if and when, but only it`, a bankruptcy
or other court of appropriate jurisdiction sells, assigns or otherwise causes this Agreement to be
transferred to (l) a business which is a material competitor to Licensor's business or (2) a business

which derives a material portion of its revenues from tobacco or from alcoholic bcverages, or from

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pornography or other explicit sexually related material, or which has been convicted of a felony or
whose chief executive, financial or operating officer in his or hcrrole as an officer of the company has
been convicted of a felony.

f. Tennination of this Agreement for any reason shall not release either party from any
part of any obligation accrued prior to the date of such termination, or obligations continuing beyond
termination of the Agreement

g. Termination of this Agreement for any reason shall be without prejudice to any rights
which either party may otherwise have against the other.

h. Upon expiration or termination of this Agreement for any reason Licensee shall have
a period of six (6) full calendar months after the date of termination in which to phase out its usc of
the Trademarlc (i.e. use up all of its finished goods, raw material and packaging inventories including
additional inventories purchased by Licensee siler such termination in order to “balance off"
inventories held or committed to by Licensee prior to such tennination), provided that all Articles to
be sold, and all uses of the 'l`radernarks, by Licensee during such six (6) full calendar month period
are in compliance with the requirements of paragraphs 6 and 8 hereot`. Licensee shall report to
Licensorwith respectto such sales and make the requisite royalty payment within thirty (30) days after
the end of each month during the aforesaid six (6) full calendar month period. All duties and
obligations of the Licensee under this Agreement shall remain in force during the sell-off period
10. Right of Fir§t g efusal

I f at any time during the term of this Agreement, Licensor decides to offer for sale any pan of
the bnsiness, assets or ownership interest cf Licensor or the Tradcmark (thc “Offcr lntercst") it shall
so notify Licensee in Writing of such intention to sell. Thereaiier. Licensee shall have thirty (30) days

from the date oi' such notice to make a formal, written offer to purchase (the “Licensee's Of`fer to

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Purchasc") which shall be irrevocable for a period of forty-five (45) days (the “Offer Period");
provi ded, however, that at the time of making ofthe Licensee's Offer to Purchase, Licensee must not
be in material breach of this Agreement, or, if prior notice of such breach has been given, and has not
been cured within the period specified iu Section 9(c), or, if no prior notice of such a breach has been
given, and if Licensor alleges such a breach simultaneously with notice of intention to sell, Licensee
shall cure such breach with the time provided for the exercise of such right of first offer.

l.f, within the Ot`fer Period, Licensor receives a competing offer from a third party or parties
(a “Third Party Offer”), it shall, within live (S) business days ofrcceipt, provide Licensee with a copy
of said Third Party Offet(s). Thereat`ter, Licensee shall have fourteen (14] days within which to revise
the Licenscc’s Oi`fer to Purchase (the “Licensee‘s Revised. Offer to Purchase") so as to be equal to or
greater than the value of the Third Party Ot`fer(s). pran orall of the consideration to be paid for the
Third Party Offer(s) is other than cash. the price stated in such Third Party Offor(s) shall be deemed
to be the sum of the cash consideration if any, specified in such Third Party Offer(s), plus the fair
market value ofthe non-cash consideration The fair market value of the non-cash consideration shall
be determined in good faith by the parties hereto or if the parties hereto cannot agree then the parties
hereto shall engage an investment banker or other financial expert of national reputation and
reasonably acceptable to the parties hereto to make such determination and the judgment of such
expert as to the fair market value of such non-cash consideration shall be binding upon the parties
hereto. The costs of any such third party determination shall be shared equally by thc parties hcrcto.
Licensor shall have fourteen (14) days after receipt of the Licensee's Revise Offer to Purchase to
advise Licensee of whether it will accept such oi:fer. ln the event Licensor accepts the Licensee‘s

Revised Oti`er to Purchase, the closing thereof will be held within sixty (60) days of such notice of

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acceptance Nothing herein shall require Licensor to accept any offer made by Licensee or any third

party.
11. manager

No failure or omission by Licensee in the performance of any obligation of this Agreement
shall be deemed a breach of this Agreement nor create any liability if the sa.rne shall arise from any
cause or causes beyond the reasonable control of Licensee.

12. Warrangg and Consutner Re§pon§e
Licensee will, at no cost to Licensor, handle all warranty (guaranty) satisfaction, response and

compliance and all consumerresponse relative to any of the Articl.es. Licensor shall promptly forward
to Licensee, for handling, any and all such consumer inquiries that it receives
13. Bo_l_o_int_Y_¢_utm.t;

Nothing herein contained shall be construed to place the parties in the relationship of
partners or joint venturers, and neither party shall have the power to obligate or bind the other in any

manner whatsoever

14. Assign_rnent. Sublicense or Change of Coptrol
a. This Agreement shall be binding upon the parties hereto and their successors and

permitted assigns

b. Licensor may assign this Agreement to any third party, provided that such third party
is also assigned all of Licensor's right, title and interest in the Trademark as applied to Articles and
Licensor shall furnish written notice of such assignment to Licensee.

c. Licensee may assign this Agreement to any parent, affiliate or subsidiary of Licensee
and to any third party acquirer of all or a majority of the business, assets or capital stock of Licensee,
provided such third party is not a material competitor of Licensor in the market for pet food products,

and further provided that any such third party shall agree in advance in writing to amend Section l.g.

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of this Agreement to insert the word “best" between the word “reasonable" and the word “cfforts,”
Except as provided below, any change in direct or indirect control over Licensee-or any assignee of
rights ofLicensee under this Agreement shall not be subject to the prior written approval ofLicensor.
However, the occurrence of any ofthc following events shall not be perrnitted:

(i) any material competitor of Licensor in the market for pet food products
becomes the beneficial owner, directly or indirectly, of a majority of the issued and
outstanding shares of Licensee entitled to vote for the election of directors;

(ii) the stockholders of Licensee approve an agreement providing for a
transaction in which Licensee will cease to be an independent corporation and the
entity which Will control it is a. material competitor of Licensor in the market for pet
food products, or pursuant to which Licensee sells or otherwise disposes of all or a
majority of the assets of Licensee to a material competitor ofLicensor in the market
for pet food products

15. Noiices

 

All notices to be made hereunder shall be in writing sent via certified overnight cr registered
mail (retum receipt requestcd). Any Arti'cles or materials submitted for approval under this Agreement
shall not be governed by the mailing type requirements of this Notice provision Such notices and
statements shall be given to or made at the respective addresses of the parties as set forth below unless
notification of a change of address is given in writing, and the date of receipt shall bc deemed the date

the notice or statement is received:

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Tc Licensor: To Licensec:
Dogsters, LLC lntegrated Brands, Inc.
161 Momingside Drivc 4l75 Veterans Highway, 3“’ Floor
Milford, C'l` 06460 Ronl<cnlcoma, NY 11779
Attn: Edward De Luca Attn: David .l. Stein, Co-CEO
¢with a copy to-
Jack Hassid. Esq.
460 Parlc Avenue, 10“‘ Fl.

New York, N.Y. 10022

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None of the terms of this Agreement can be waived or modiiied except by an express agreement
in writing signed by both parties There are no representations, promises, warranties, covenants or
undertakings other than those contained in this Agreement and in the other agreements between the
parties hereto dated as of even date herewith which represent the entire understanding of the parties

17. Choice of Law

 

This Agreement shall be governed by and construed in accordance with the internal laws (and
not the law of conflicts) of the State of New York. The parties hereto agree to submit to jurisdiction
in the state of New York, and further agree that any court proceeding relating to any controversy
arising under this Agreement shall be in the United St'atcs Federal Court for the Southern District of

New York located in Kings County.

18. Subrnission o'ngi;.e§mgnt

This Agreement shall become effective only upon its execution by Licensor and Licensee

19. Duplicatg Qriginnls; Faxed §ignatures

This Agreement may be executed in any number of counterparts each of which will be an

original and all of which will together constitute one and the same document Signatures transmitted

by telecopier will be deemed originals

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lN WI’I'NESS WHEREOF, the parties hereto have caused this instrument to be duly executed

as of the date and year first above written

DOGS'I'ERS, LLC

Dated: "M[ S€>§ QQ'>Y ByC//"§§i`§\a> “é"`$"__--\
l y

INTEGRATED BRANDS, INC.

 

Dated: By;

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~' ~eA“/aa/zeaa e<.t=az race mesrt)- eso. 4 iatzzzarsaa - -

IN W!TNESS WH.EREOF, the parties hereto have caused this instrument co be duly executed
as of the date and year that above written
DOGSTERS. LLC

Datcd: By:

 

 

WTEGRATED BRANDS, INC.

Dated‘. §) ZO!QE

 

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JAOK I~IAISID, ESQ.

Attomey at haw
460 Park Avenue
10‘h Floor
New York, New York 10022

ran (212) 4214932
soc (212) 421-5086 .

March 29, 2007

VIA 113 LE QOPIER

Mr. Miohael Sermya
CoolBrands International, Inc.

8300 Woodbine Avenue §

Marl<ham, Ontario, Canada LSR 9Y7 l
se incidence

Dear Mike:

I was hoping l would have heard from you with respect to Dogsters’ offer to purchase the
outstanding inventory and exchange releases

Under the circumstances l want to reiterate the fact that Dogsters objects to any transfer ;
of its License Agreement dated April 20, 2004, with Integrated Brands, Inc. to l & J Foods, Inc.
In this regard, l direct your attention to Paragraph l4(a) of the which provides, among other
things that the Licensee may assign the License Agreement to a third party only if that party is a
“third party acquirer of all or a majority of the business, assets or capital stock of Licensee . . . .”
Nothing you have told me regarding your proposed transaction with J &. J leads me to believe
that it comes within the purview of this provision

 

 

And, of course, the foregoing is without prejudice to Dogsters’ contention that the
License Agreement was temrinated on or about July 25, 2006, due to Integrated’s material
breaches

Very truly yours,

lack Hassicl

 

